            Case 2:10-cr-00299-WBS Document 513 Filed 08/24/16 Page 1 of 1

 1

 2

 3

 4

 5

 6

 7

 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                  CASE NO. 2:10-CR-00299-WBS

12                      Plaintiff,              ORDER DISMISSING INDICTMENT

13                           v.                 DATE: August 29, 2016
                                                TIME: 9:00 a.m.
14   RAUL JACOBO CASTANEDA, and                 COURT: Hon. William B. Shubb
     LOUIE SALAZAR,
15
                        Defendants.
16

17

18                                          ORDER

19         Based on the United States’s Motion to Dismiss, and pursuant to Rule 48 of the
20 Federal Rules of Criminal Procedure, it is HEREBY ORDERED that the Superseding
21 Indictment and Second Superseding Indictment are dismissed against the above-captioned

22 defendants. The August 29, 2016 hearing date is vacated.

23
     Dated: August 23, 2016
24

25

26

27

28

      ORDER DISMISSING INDICTMENT                               UNITED STATES V. CASTANEDA, ET AL.
                                                1
